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             Exhibit 23
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       1                     UNITED STATES DISTRICT COURT
       2        CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
       3

       4 SERENA FLEITES, et al.,       ) Case No. LA CV 21-04920-CJC-
                                       )                       (ADSx)
       5           Plaintiffs,         )
                                       ) Los Angeles, California
       6 vs.                           )
                                       ) Wednesday, March 8, 2023
       7 MINDGEEK S.A.R.L. et al.,     )
                                       ) (10:11 a.m. to 1:26 p.m.)
       8           Defendants.         )
         ______________________________)
       9

      10
                   TRANSCRIPT OF PLAINTIFF'S MOTIONS TO COMPEL
      11                     [261], [264], [267], [274]
                                SCHEDULING CONFERENCE
      12               BEFORE THE HONORABLE AUTUMN D. SPAETH
                           UNITED STATES MAGISTRATE JUDGE
      13

      14
           Appearances:                       See next page.
      15
           Court Reporter:                    Recorded; CourtSmart
      16
           Courtroom Deputy:                  Kristee Hopkins
      17
           Transcribed by:                    Jordan Keilty
      18                                      Echo Reporting, Inc.
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         Proceedings recorded by electronic sound recording;
      25 transcript produced by transcription service.




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                                  ID #:8920


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                                                                                   103
       1 Try to respond clearly about what you can and will be

       2 producing.    I will leave it up to you to determine time
       3 frame for production.       I just want to know if there remain
       4 any requests for production or categories of documents that

       5 you are not able to agree to I'm going to request a

       6 supplemental briefing explaining if anything remains at

       7 issue, what that is, and what is still being sought.                 And I
       8 hope that by the time that happens, we will truly be at the

       9 point where everybody understands what's being asked for and

      10 there is just truly a disagreement about whether or not it

      11 should be produced.       Okay.
      12              I'm going to order that that supplemental brief be
      13 filed on March 24th.       That gives you about two weeks to deal
      14 with this.    Based on your current discovery cutoff, I think
      15 that that makes sense.

      16              Now, if some -- if the people who are responsible
      17 tell me that you're having a baby or you're going on a

      18 vacation and this is not possible, I will revisit that date.

      19 Okay.

      20              Any questions with regard to the motion to compel
      21 the entity Defendant regarding the eight buckets?

      22              MS. TABAKSBLAT:      No, your Honor.
      23              MS. YEARY:    No, your Honor.
      24              THE COURT:    Okay.     Now, with regard to the four
      25 motions to compel to the individual Defendants, I'm also




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                                                                                  104
       1 ordering you guys to meet and confer because what I heard

       2 here was that it was the first time that the Defendants have

       3 heard the limitations that -- or reasonable limitations that

       4 I believe that Mr. Stein stated.         Big picture, I believe
       5 that these discovery requests are very overbroad.               I heard
       6 the Defendants say that their clients aren't likely to

       7 actually have much of the information.           So, the burden
       8 objections are not persuasive because if you don't have

       9 much, it's not much of a burden to look at, and it's not

      10 much of a burden to produce.         And, again, there was no
      11 evidence actually supporting the burden objections.

      12 Traditionally, I get declarations that say it would take me

      13 24 hours to go through the 3,550 documents, and I don't have

      14 anything like that here.      All right.
      15             But I believe that the Defendants have a right to
      16 understand because I think the limitations that Mr. Stein

      17 stated in this courtroom generally seemed very reasonable to

      18 me.   I understand that this was the first time you heard
      19 them.   And, so, you need to have an opportunity to consider
      20 them.

      21             Now, same thing, I'm going to order that the
      22 parties meet and confer, that the Plaintiffs provide what

      23 they're actually looking for in -- along the lines of the

      24 limitations that Mr. Stein described.           I'm not saying that
      25 you have to stick exactly to those, but to the extent that,




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